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 2                                                               The Honorable Barbara J. Rothstein

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 8
                                     UNITED STATES DISTRICT COURT
 9                                  WESTERN DISTRICT OF WASHINGTON
                                              AT SEATTLE
10
     IN RE SUBPOENA TO
11   JIMMY NGUYEN                                       Case No. 2:20-cv-00593-BJR

12
     IRA KLEIMAN, as the personal                       PLAINTIFFS’ REPLY IN SUPPORT
13   representative of the Estate of David              OF THEIR SECOND MOTION TO
     Kleiman, and W&K Info Defense Research,            COMPEL
14   LLC,

15                                        Plaintiffs,

16       v.

17   CRAIG WRIGHT,

18                                       Defendant.

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24   MOTION TO COMPEL                                         ROCHE CYRULNIK FREEDMAN LLP
     (Case No. 2:20-cv-00593-BJR)                               200 S BISCAYNE BLVD., SUITE 5500
25                                                                       MIAMI, FL 33131
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 1       I) INTRODUCTION & FACTUAL BACKGROUND

 2           Plaintiffs do not seek Nguyen’s communications that (1) involved nChain or Wright’s

 3   attorneys, (2) were related to Plaintiffs’ IP claims, and (3) occurred while Nguyen was CEO of

 4   nChain. Plaintiffs agree these are properly shielded by the common interest privilege.

 5           That said, Plaintiffs seek all communications that fall outside those parameters, i.e., all

 6   communications with (1) Wright, (2) Calvin Ayre, (3) Mr. Ayre’s representatives, or involving

 7   (4) Wright’s or nChain’s counsel and (a) concerning Plaintiffs’ bitcoin-related claims (where

 8   nChain has no interest) or (b) occurring after Nguyen stepped down as nChain’s CEO. None of

 9   these communications are protected by any cognizable privilege (Nguyen’s “liaison” privilege

10   doesn’t exist under the law). And Nguyen should be compelled to testify.

11           Nguyen asserts he has “gone above and beyond his discovery obligations,” and that

12   Plaintiffs’ motion constitutes a “gambit” where Plaintiffs seek “to litigate Dr. Wright and

13   nChain’s attorney-client privileges . . . in a satellite proceeding in which both are absent.” Opp.

14   2. This argument is less than forthcoming as Rule 37(a)(2) requires Plaintiffs to proceed in

15   Washington, and as Nguyen knows, Wright expressly declined to participate in these

16   proceedings. See Second Declaration of Velvel (Devin) Freedman (“2d Decl.”) Ex. 1. Further,

17   the notion that Nguyen has “gone above and beyond” is not supported by the record.1

18   Notwithstanding his status as an attorney and his newly-revealed role as “a critical member of

19   [Dr. Wright’s] litigation team,” Nguyen evaded service of Plaintiffs’ subpoenas and refused to

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       Nguyen claims (twice) that he was forced to sit for a “seven-hour deposition.” Opp. 2, 3 (emphasis in original).
     The deposition was 5 hours and 32 minutes on the record. 2d Decl. ¶ 3. He also claims that he “answered each and
22   every question posed to him, save only those few that were protected by black-letter privileges.” (Opp. 2.) This
     statement is misleading, given the blanket objection made by his attorney. See DE 21, at 72:15-23.
23

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 1   comply until ordered to do so. Worse, at the same time Nguyen was evading service, he

 2   purported to strike a Common Interest Agreement with Dr. Wright regarding the exact subject

 3   matter of Plaintiffs’ document subpoena.

 4           Nguyen’s transparent attempt to prevent Plaintiffs from discovering his communications

 5   is just the latest effort from Wright to avoid producing relevant material by abusing the discovery

 6   process and attorney-client privilege. Plaintiffs have successfully challenged Wright’s prior

 7   attempts to obstruct discovery. See, e.g., 2d Decl. Ex. 2 (discovery sanctions).2 In fact, Wright’s

 8   prior efforts to hide behind wrongfully asserted privilege resulted in Wright being compelled to

 9   produce over 11,000 documents he previously claimed were privileged. Id. Ex. 3 (granting

10   motion to compel).

11           Regardless, Nguyen’s privilege assertions (beyond the single category above) should be

12   rejected on their merits. As explained below, Nguyen’s “liaison” theory has no basis in law and

13   the common-interest doctrine is inapplicable to the communications Plaintiffs seek.

14       II) ARGUMENT

15               a. Nguyen’s Liaison Theory Is Unsupportable

16           Nguyen asserts that he is Dr. Wright’s “litigation liaison” and, as a result, his

17   communications with Dr. Wright (and therefore Dr. Wright’s attorneys and litigation funder) are

18   privileged. See Opp. 7-8. This novel theory should be rejected.

19           First, Nguyen invokes federal law’s Kovel doctrine to support his position. Opp. 7. That

20   doctrine “extends only to communications with third parties that are necessary to effectuate the

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      This sanction was upheld on appeal to the District Court, though the specific remedy was reduced to payment of
     over $165,000 in attorney’s fees.
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 1   client’s consultation.” United States v. ChevronTexaco Corp., 241 F. Supp. 2d 1065, 1072 (N.D.

 2   Cal. 2002); see also United States v. Wachovia Bank, N.D., No. 8:09-cv-1443, 2011 WL

 3   13302099, at *2 (M.D. Fla. June 7, 2011). Nguyen appears to concede his involvement is not

 4   “reasonably necessary” to facilitate Dr. Wright’s attorney-client communications. See Opp. 8 n.9

 5   (disclaiming reliance on Fla. Stat. § 90.502(1)(c)(2), which protects third-party disclosures

 6   “reasonably necessary” to facilitate attorney-client communications). This concession is

 7   appropriate—Wright is “a headline speaker” who has attended proceedings in the Florida Action

 8   without Nguyen and claims to maintain other attorney-client relationships without assistance. See

 9   DE 15, at 6. The notion that he needs Nguyen to communicate with counsel is also absurd, as

10   Wright has asserted under oath that he has an LLM, has “completed his solicitor training,” and

11   has taught law at the university level. 2d Decl. Ex. 4, ¶¶ 20.4, 22. In fact, in a lawsuit he initiated

12   in the United Kingdom over slander, one of the damages he listed was harm to his “ambition of

13   becoming a magistrate in Surrey.” Id. Ex. 5, ¶ 25.10.

14          Second, Nguyen claims (without citation) that the principles of Upjohn “appl[y] with

15   equal force where the client is an individual like Dr. Wright.” Opp. 8. Courts disagree. See

16   Upjohn Co. v. United States, 449 U.S. 383, 391 (1981) (distinguishing corporate clients from

17   individual clients); Leone v. Fisher, No. 3:05-cv-521, 2006 WL 2982145, at *4 (D. Conn. Oct.

18   18, 2006) (Upjohn inapplicable to individuals); In re Grand Jury Subpoenas, 995 F. Supp. 332,

19   340 (E.D.N.Y. 1998) (same). Instead, unlike in the corporate context, a “‘client representative’

20   extension of the attorney-client privilege” is only “recognized” for individual clients who are

21   “disabled or [] in some unique position requiring another to intervene between [them] and

22   counsel.” In re N. Plaza, LLC, 395 B.R. 113, 124 (S.D. Cal. 2008). As explained above, the idea

23   that Wright falls into that category, is absurd.

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 1           Third, Nguyen argues that his communications are privileged because they are “in

 2   ‘furtherance of the rendition of legal services.’” Opp. 8 n.9 (citing Fla. Stat. § 90.502(1)(c)(1)).

 3   But despite having the burden, Nguyen makes no effort to explain why this exception is

 4   applicable. In any event, the exception does not apply in situations where (as here) the third

 5   party’s role is, at most, “helpful in assisting [the attorney’s] representation of [the client].” Wellin

 6   v. Wellin, No. 2:13-cv-1831, 2018 WL 5983393, at *12 (D.S.C. Oct. 25, 2018) (applying Florida

 7   law, and construing Fla. Stat. § 90.502(1)(c)(1)). To the extent Nguyen claims his

 8   communications with Dr. Wright are privileged because he helped Dr. Wright find counsel (and

 9   is therefore analogous to a litigation funder), Nguyen’s argument should be rejected. There is no

10   basis to conclude Nguyen’s services were ever necessary (as Nguyen concedes), let alone

11   necessary after Dr. Wright secured counsel. See In re Int’l Oil Trading Co., LLC, 548 B.R. 825,

12   835 (Bankr. S.D. Fla. 2016) (funders may be “essential” and “must assess” litigation on an

13   “ongoing basis”); cf. Gerheiser v. Stephens, 712 So. 2d 1252, 1254 (Fla. Dist. Ct. App. 1998)

14   (privilege not waived where mother helped incarcerated son find counsel).3

15               b. The Common Interest Doctrine Does Not Apply

16           Nguyen asserts that his communications with Wright are protected by the common-

17   interest doctrine because he, Wright, and nChain “share obvious common legal interests.” Opp.

18   10. His argument should be rejected. First, as Plaintiffs previously explained, the common-

19   interest doctrine does not apply to communications that do not involve an attorney. See Br. 7-8.

20   Nguyen failed to address this point and therefore waived any response to it. See Madera W.

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      Nguyen further claims that communications with Ayre are privileged because Ayre is Wright’s litigation funder.
22   Opp. 8-9. This should be rejected as it is necessarily premised on Nguyen’s incorrect argument that he is, for
     purposes of the attorney-client privilege, Wright.
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 1   Condo. Ass’n v. First Specialty Ins. Corp., No. 12-cv-857, 2013 WL 4015649, at *4 (W.D.

 2   Wash. Aug. 6, 2013) (“Failure to respond to an argument . . . waives the right to do so.”).

 3           Second, any common interest between Nguyen (as nChain representative) and Wright

 4   ended in late 2018 when Nguyen resigned as nChain’s CEO.4 Nguyen claims he continued to be

 5   the “client” for nChain after that date (Opp. 7-8), but fails to demonstrate that any of his

 6   communications with Wright were made for nChain’s getting legal advice and not as “liaison”

 7   for Wright. See Lewis v. Wells Fargo & Co., 266 F.R.D. 433, 442 (N.D. Cal. 2010) (employee

 8   only within privilege if “information is being furnished to enable [the corporation’s] attorney to

 9   provide legal advice to the corporation”). Indeed, these communications continued after Nguyen

10   “no longer has any role with nChain.” Nguyen Decl. ¶¶ 19-20.

11           Third, Nguyen (in his individual capacity) and Dr. Wright do not share a common legal

12   interest. He testified as much at his deposition See DE 21, at 110:21-111:10. Nguyen asserts he

13   and Wright share a common interest in “protecting” Wright’s “interests” because Nguyen is

14   Wright’s “liaison in the litigation.” Opp. 9. This fails as the liaison argument fails, and does not

15   show (or even suggest) that Nguyen himself has any legal interest in the Florida Action. See Del

16   Monte Int’l GMBH v. Ticofrut, S.A., No. 16-cv-23894, 2017 WL 1709784, at *7 (S.D. Fla. May

17   2, 2017) (“shared interest in the outcome of litigation” is insufficient).5 The communications

18   Plaintiff seek are not protected and Nguyen should be compelled to turn them over.

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20     Any common interests between nChain and Wright are further limited to Plaintiffs’ IP claims, and do not include
     Plaintiffs’ bitcoin-related claims. See MapleWood Partners, LP v. Indian Harbor Ins. Co., 295 F.R.D. 550, 613-14
     (S.D. Fla. 2013) (finding that common-interest doctrine did not extend to all of parties’ communications). nChain
21   has no interest in the bitcoin Plaintiffs allege Wright stole from their decedent and W&K.
     5
      The existence of Common Interest Agreements does not establish that a common interest actually exists between
22   Dr. Wright, Nguyen, and nChain. See Alabama Aircraft Indus., Inc. v. Boeing Co., No. 2:11-cv-03577, 2017 WL
     4585582, at *2 (N.D. Ala. Apr. 25, 2017) (noting that “existence of a joint defense agreement” is not sufficient).
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 1      III)NGUYEN’S MOTION TO SEAL SHOULD BE DENIED

 2          Nguyen filed a Motion to Seal along with his opposition. (DE 18.) In that motion,

 3   Nguyen “respectfully requests that the Court seal [his] April 30, 2020 deposition transcript.” (Id.

 4   at 1.) Nguyen asserts that sealing the entire transcript is necessary because it includes his

 5   “personal financial information, his personal identifying information, his personal Bitcoin

 6   holdings, nChain’s confidential proprietary information and intellectual property, nChain’s

 7   confidential business records, and Dr. Wright’s confidential information.” (Id. at 5.) Although

 8   Plaintiffs agree that information of the kind described by Nguyen may properly be sealed, as

 9   explained below, Plaintiffs disagree that sealing the entire transcript is proper.

10          Plaintiffs agree with Nguyen that the good-cause standard, as opposed to the compelling-

11   interest standard, applies to the question of whether Nguyen’s deposition transcript may properly

12   be sealed. (See id. at 3-4); see also Varsity Gold, Inc. v. Elite Fundraising LLC, No. 05-cv-1048,

13   2007 WL 9775477, at *1 (W.D. Wash. May 2, 2007) (“To obtain a court order sealing

14   documents attached to a non-dispositive motion, Ninth Circuit law provides that the parties must

15   make a particularized showing under the ‘good cause’ standard of Fed. R. Civ. P. 26(c).”);

16   Jackson v. Berkey, No. 3:19-cv-6101, 2019 WL 6474752, at *4 (W.D. Wash. Dec. 2, 2019) (“[A]

17   party seeking to seal records attached to nondispositive motions must show ‘good cause.’”).

18   Plaintiffs further agree that confidential business information, personal identifying information,

19   and personal financial information may properly be sealed. (See DE 18, at 4-5 (citing cases).)

20          Nevertheless, Plaintiffs do not believe that sealing the entire transcript is necessary. See,

21   e.g., Brocade Commc’ns Sys., Inc. v. A10 Networks, Inc., No. 10-cv-03428, 2012 WL 70428, at

22   *2 n.1 (N.D. Cal. Jan. 9, 2012) (“The Court disagrees, and finds that it would be inappropriate to

23   file the entire transcript under seal because much of the transcript does not contain personal,

24   PLAINTIFFS’ SECOND MOTION TO COMPEL               6         ROCHE CYRULNIK FREEDMAN LLP
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 1   confidential, or trade secret information.”). Indeed, large swathes of the transcript do not relate

 2   to Nguyen’s “personal financial information, his personal identifying information, his personal

 3   Bitcoin holdings, nChain’s confidential proprietary information and intellectual property,

 4   nChain’s confidential business records, and Dr. Wright’s confidential information.”

 5            Moreover, although Plaintiffs believe that such a showing is possible, Plaintiffs do not

 6   believe that Nguyen has made the necessary showing to seal any information in the transcript.

 7   “The ‘good cause’ standard requires a ‘particularized showing’ that ‘specific prejudice or harm

 8   will result’ if the information is disclosed.” Jackson, 2019 WL 6474752, at *3.           “‘Broad

 9   allegations of harm, unsubstantiated by specific examples of articulated reasoning’ will not

10   suffice.” Id. Nguyen has not undertaken any effort to identify with any specificity what type of

11   harm he would experience if the full transcript were disclosed. Instead, he states (in conclusory

12   fashion) that disclosure of “identifying information” would be “inappropriate,” and that

13   disclosure of other information in the transcript “violates the privacy rights of the stakeholders

14   and would cause them competitive [harm].” (DE 18, at 5.) He does not explain what those

15   privacy rights are, to whom they belong, or what competitive harm any entity would suffer.

16            In fact, when Nguyen emailed Plaintiffs asking their position on sealing the motion,

17   Plaintiffs advised Nguyen they believed redacting confidential portions would be the proper way

18   to proceed, and even offered to review proposed redactions. (See id. Ex. A.) Nguyen ignored that

19   offer.

20            Accordingly, Nguyen has not shown that good cause exists to seal the entire deposition

21   transcript.

22       IV) CONCLUSION

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 1          Nguyen’s latest effort to deprive Plaintiffs of discoverable information should be rejected.

 2   Accordingly, Plaintiffs respectfully request that their Second Motion to Compel be granted.

 3   Further, Nguyen’s Motion to Seal should be denied.

 4
                                                     Respectfully submitted,
 5
     Dated: May 8, 2020                              CLOUTIER ARNOLD JACOBOWITZ, PLLC
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20                                                   Counsel to Plaintiff Ira Kleiman as Personal
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 1                                   CERTIFICATE OF SERVICE

 2          I HEREBY CERTIFY that on May 8, 2020, I electronically filed the foregoing document

 3   with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being

 4   served this day on all counsel of record via transmission of Notices of Electronic Filing

 5   generated by CM/ECF.

 6                                                        /s/ Emanuel Jacobowitz
                                                          Emanuel Jacobowitz, WSBA #39991
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24   PLAINTIFFS’ SECOND MOTION TO COMPEL              9         ROCHE CYRULNIK FREEDMAN LLP
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